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STATES DISTR|CT COURT
EASTERN DlSTRiCT OF MiCH|GAN
SQUTHERN D|VISION
Yolanda Domineck- Mitchel|
P|aintiff `
vs. ' Civil Action # 2013-cv-12009

Detroit Pub|ic Schools Hon. Judge Victoria A Roberts
Pub|ic School District and as Magistrate Judge Mona K Majzoub

an Agency of the State Michigan
Division of Human Resources
Emp|oyee Health Services
Robert Bobb.|ndividua|iy and
in his Officiai Capacity as the
Emergency Financial N|anager
Jack Martin , lndividualiy and {'
in his Capacity as the Successor
Emergency Financia| Manager
E|Ien Griffin,individuaily & Executive
Director Empioyee Health Services
lnes De Jesus,individually and as
Associate Superintendent Human Resources
Roderick Grimes,individua||y and as ;-';)
Chief Depanmsnt of Pubiic Safety

Defendants

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raw A\.

 

 

Yolanda Domineck Mitchell
P|aintiff' in Pro Per
12500 Rosemary
Detroit, Michigan 48213
Te| (248) 252-7417

AMENDED COMPLA|NT AND DEMAL|_Q FGR JURY TR|AL

FiLED PURSUANT TO RULE 15(a) OF FE_Q_ERAL Rl_!_l__§S OF

ClVIL PROCEDURE

Now comes the P|aintiff -Yolanda Domineck Mitche|| in Propria Persona
and hereby complains unto this Honorable United States District Court for Judgment(s)
in Compensatory Damages and a written Order Granting Plaintiff-Yolanda Domineck
Mitchell Reasonable Accommodations against the above named - Defenda»nts- the Detroit
Pub|ic Schoo|s, an Agency of the State |V|iohigan- Division of Human Resources Emp|oyee
Health Servioes, Robert Bobb.individua||y and in his foioia| Capaeity as the Emergency
Financial Manager,E|len Griffin Executive Director Emp|oyee Heaith Services; lnes De

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Jesus, ,as Associate Superintendent Human Resources Roderick §_r_i_n_\e_s_, lndividual|y
and as Chief Department of Public Safety for willful Viol'ations of P|aintiff American with
Disability Act (ADA); the Family Medical Leave Act,(FMLA); the REHAB|L|TAT|CN ACT
of 1973 - Section # 504 - 29 U‘SC # 794(a) and Violations of Due Process of Law and
Equal Protection of the Law under the 5th and 14th Amendments to the U.S. Constitution
and the applicable U.S. law for the following reasons :

JU~R|SD|CTION AND VENUE

 

1 Now comes Plaintiff Yolanda Domineck Mitchell who invokes the Jurisdiction
of this U.S District Court based upon 28 U.S.C 1331 Federal Question Jurisdiction based
upon Federal Law which the Plaintiff seeks judicial relief based upon the U.S law for willful
violations of Plaintiff’s American with Disability Act (ADA); the Family Medical Leave Act
(FMLA); the REHAB|L|TATIGN ACT of 1973 - Section # 504 - 29USC # 794(a) and willful '
Violations of Plaintift’s Constitutional rights and guarantees under the Due Process of
Law and Equa| Protection of the Law clauses of the 5th and 14th Amendments to the
U.S. Constitution and U.S. law that allegedly occurred in the Eastern District of Michigan
Southern Division by the Defendants named in this Civil Action involving in this Case and
Controversy

2 On July 30, 2010,Defendants-Detroit Pub|ic Schoo|s, a Pub|ic Schoo| District
and Agency of State Michigan-Division of Human Resources Emp|oyee Health Services
, Robert Bobb. as individually and in his CHiciat'Capac'rty, as the Emergency
Financial Manager, Ellen Griffin as Executive Director of Emp|oyee Health Services ;
lnes De Jesus as the Associate Superintendent Human Resourcesand Roderick Grimes
as the Chief of Department of Safety willfully engaged in violations of Federal Law
when that mailed a written notice through tst ciass maii and stated that Piaintiff Empioyment

was terminated with affording P|aintiff a hearing
-2.

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3 That these Defendants were fully aware that P|aintiff Yo|anda Domineck Mitchell
was on an approved medical leave under the Family Medical Leave Act (FMLA)

4 That these Defendants knew P|aintiff - Yo|anda Domineck Mitchel| was under the
care of medical doctor for injuries that she suffered from her employment on July 30, 2010.

Common Al|eqations

5. Plaintiff's Yo|anda Domineck Mitche|| - is a resident of the City of Detroit and
hereby asserts that she has Lega| Standing to file pursue and maintain this Civil Action.
6. Plaintiff- Yo|anda Domineck Mitchell a DPS security officer is an aggrieved

person who been denied and her rights to due process were violated in this case

 

and controversy. P|aintiff - Yo|anda Domineck Mitche|l has been denied reasonable
accommodation and her Federally protected rights under the Americans with Disabilities
Act of 1990 (ADA) ; the Federal Family Medic'al Leave Act of 1993 and the Federal
Rehabilitation Act of 1973

7. That the Defendants-Detroit Pub|ic Schoo|s, Pub|ic School District as an
Agency of the State Michigan-Division of Human Resources Emp|oyee Health Servicea,
and Robert Bobb. lndividually and in his Official Capacity, as Emergency Financial
Manager,Ellen Griffin Executive Director Emp|oyee Health Services; lnes De Jesus,
lndividually- Associate Superintendent Human Resources - Roderick Grimes.

8. That Defendant » Detroit Pub|ic Schoo|s, a Pub|ic School District and Agency
of the State Michigan-Division of Human Resources Emp|oyee Health that deals with
employment personnel issues work and including employment leaves, vacations, work
status, suspensions FMLA etc, and is a government agency that is now subject to the
Jurisdiction of this Court and legal process issued by this U.S District Court.

9. That Defendant Robert Bobb was duly appointed Emergency Financial

Manager by former Goverrior - Jennifer Granhoim - and given the authority to fire and
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terminate the employment of this Plaintiff- Yo|anda Domineck Mitchell who had a
written collective bargaining agreement and Defendant- Robert Bobb is now subject
to the Jurisdiction of this Court and legal process issued by this court

10. That Defendant- Jack Martin was duly appointed Successor Emergency
Financial Manager by the current Governor Rick Snyder and given the authority to
now rehire and reinstate the employment of this Plaintifl‘- Volanda Domineck Mitchell
to resolve this “Case and Controversy” and this Defendant Jack Martin is now subject
to the Jurisdiction of this Court and Legal Process issued by this Court

11. That Defendant ,Ellen Gril`fin the Executive Director Emp|oyee Health Services
did terminate this P|aintiff ¥olanda Domineck Mitchell while she was on approved
Family Medical Leave Act which constitutes a violation of U.S. law and this Defendant
is now subject to the Jurisdiction of this Court and legal process issued by this Court.

12. That Defendant - lnes De Jesus, signed the written letter to terminate P|aintist

employment with DPS SECURlT\’ and this Defendant was fully aware that this Plaintiff
- Yo|anda Domineck Mitchell - was an approved medical leave and had suffered injury
from working on her job. and this Defendant- lnes De Dessus is now subject to the
Jurisdiction of this Court and legal process issued by this court

13. That Defendant- Robert Bobb acting under Executive authority as the
Emergency Financial Manager with power by Governor to make decisions regarding the
Federal and State Law did breach his fiduciary duty and by interfering with the written
contractual relations and with this P|aintiff prospective advantage - and did intentionally
cause emotional stress and infliction of economic harm and did aggravate her medical
condition by terminating her employment while on an approved Family Medical Leave.

14. That Defendant ,Ellen Griffin Executive Director Emp|oyee Health Services

participate in the termination of P|aintiff employment while she was approved a Family
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Medical Leave violating U.S Federal law and written union collective bargaining
agreement.

15 On July 30, 2010 this Plaintiff-‘Yolanda Domineck- Mitchell as a DPS
Security officer was illegally terminated from her employment by the Defendants
Detroit Pub|ic Schools ;Robert Bobb; Ellen Griflinl ; lnes De Jesus, ,Roderick

Grimes, without Due Process of law who violated the employee Collective Bargaining

 

Agreement and the Federal Law.

16 Defendant Robert Bobb acting as the original EMERGENCY FINANCIAL
MANAGER, was mandated to uphold the Federal law and the contractual rights of Detroit
Pub|ic School Security Ofl”lcers and employees under the Michigan and l.l.S. law and
this EFM manager’s conduct and actions on July 30, 2010 is now subject to the
jurisdiction of this U.S District Court ;the U.S. law and legal process issued by
this U.S District Court

17 Defendant- Jack Martin as Successor EMERGENC¥ FlNANClAL MANAGER
is now mandated to uphold the Federal law and the contractual rights of of Detroit
Pub|ic School Security Ofticers and employees under the Michigan and U.S. law and
this Successor EMERGENCY FlNANClAL MANAGER - ls now liable and responsible
for now resolving this “Case and Controversy” that accrued on July 30, 2010 involving
this P|aintiff- Yo|anda Domineck- Mitchell

18. Defendants-Detroit Pub|ic Schoo|s, a Public School District and an Agency
of the State of Michigan-Division of Human Resources Emp|oyee Health Services and-
the Defendant Robert Bobb has violated the law individually and in his Official Capacity
as the original Emergency Financial Manager ;Defendant Ellen Griffin as the Executive
Director Emp|oyee Health Services; lnes De Jesus, as the Associate Superintendent

of Human Resources
-5.

 

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19 Defendant - Roderick Grimes participated in this scheme to deprive and
deny this Plaintiff reasonable Accom~modation which is a violation of the Family Medical
Leave Act -1993 and the Americans with Disability Act, that afforded to other employees
severally- that were not terminated, based upon the Legal Claims alleged in this written
Complaint and the applicable Michigan Law- for the following reasons:

20. That all these Defendants are subject to Federal Law and were Acting under
the color of State law( Michigan Emergency Financial Manager Act - Pub|ic Act 4 of
of 1999 )- when they violated the Federal Law specifically the American Disabilities
ACT 1990 U.S.C # 12112(a) ADA et al ; the Federal Medical Leave Act (FMLA) ; the
Federal Rehabilitation Act of 1973 ; 'l'itle Vll of the Civil Rights Act of 1964 ; the

Federal Civil Rights Act of 1866- 42 USC # 1983 et al; 42 USC # 1985 ; and
the 5th and 14th Amendments to the U.S. Constitution

21. That the amount in controversy is within Jurisdiction of this U.S District Court
because Plaintiff ¥olanda Domineck Mitchell claims damages and benefits in excess of
Seventy Five Thousand ($75.000.00) Dollars.

CGUNT l
VIOLATlONS OF THE AMER|CANS WlTH DlSABlLlTlES ACT -TITLE ll

ADA- PUBL|C SECTOR - 42 USC # 12112jaj ; 42 USC #12132 QUALlFlED
DISABLED EMPLOYEE - HAND|CAP DISCRIMINAT|ON AND DENIAL OF

REASONABLE AQ_C_;__C_)MMQ_|_JAT|Q_N§ - ACTl(_)N FOR DAMAGES & RELlEF
Now comes the P|aintiff Yolanda Domineck Mitchell in Propria Persona
and hereby complains unto this Honorable United States District Court for monetary
damages for this Plaintiff's fo being wrongfully deprived of Reasonable Accommodation
in the work force and hereby seeks and request a Judgment for compensatory damages
other judicial reliefs against these Defendants- because- DPS Breached of Fiduciary
Duty to this plaintiff Yolanda Domineck Mitchell and obey the Applicable Michigan law

for the following Reasons : -6_

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22. P|aintiff \’olanda Domineck Mitchell hereby realleges ,restates, reasserts
paragraphs one through (1-19) nineteen heretofore, alleged and hereby incorporates by
reference said written paragraphs - as part of this count l a federal Civil Rights Claims
arising from willful violations of American Disabilities Act 1990 42 U.S.C # 121 12 (a) ADA
et al and further states:

23. 42 USC # 12112(a) - known as the Title Vll -ADA statute - provides that
that subject to the provisions of this subchapter, no qualified individual with a
Disability shall by reasons of any disability be discriminated in regard to any job
application procedures, the hiring, advancement , or,7 discharge from employment
compensation , job training and other terms, conditions , and privileges of employment

24. 42 USC # 12132 - known as the Title ll ADA statute - provides that subject `
to the provisions of this subchapter, no qualified individual with a Disability shall, by
reason of such disability, shall be excluded from participation in or be denied the
benefits of the services, programs, or activities or be subjected to discrimination by
any such entity .

25. The U.S Supreme Court- in Shaw vs Delta Air Lines, 463 US 5 97, 103
S.Ct. 2890 at 2900 ; 77 L .Ed. 2d 490 (1983) held that the U.S. District Court must give
these U.S. statutes - a plain language interpretation and U.S. Congress intended that
Liability be based upon violation of plain language of these statutes.

26 To show a violation of the ADA under 42 USC#12102(2) , the P|aintiff
must first establish a “prima facie case” by adducing evidence that (1) P|aintiff has
a “disability” (2) P|aintiff is a “ qualified individual” and (3) P|aintiff was discriminated
against because of her disability” See, Tovota Mgtor Mfg.Kv lnc_:__y_s. Willia_rr_\§_, 534
US184,193, 122 S.Ct. 681,151 L .Ed. 2d 615 (2002) Hilburn vsl Murata Elecs N. Am lnc.

181 F. 3d 1220, at 1226 (11"‘ Cir 1999) Doe vs Dekalb County Sch. District, 145 F. 3d

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111 (11th Cir. 1998);Morisky vs BrovLaLd Cognty, 80 F. 3d 445 , at 447 (11th Cir 1996)

27. P|aintiff Yolanda Domineck Mitchell does qualify under the ADA as a
disabled “Handicap Emp|oyee” P|aintiff -¥olanda Domineck Mitchell has a (1) physical
impairment (2) that substantially limits (3) a major life activity of working at this time
as mandated by the U.S. law. See, Sutton vs. United Air Lines lnc, 527 US 471, at
492, 119 S. Ct. 2139, 144 L. Ed. 2d 450 (1999) Tovotg illicth Mfg. Kv lnc, vs Willia_m_§,
534 US184, 193, 122 S. Ct. 681, 151 L. Ed. 2d 615 (2002) The US Supreme Court in
Murghy vs, United Parcel Service lnc, 527 US 516, 521-522, 119 S Ct.2133, 144 L,Ed.
2d 484 (1999)

28 Plaintifi- Yolanda Domineck Mitchell asserts that she is “ a person
is regarded as “disabled” within the meaning of the ADA if a covered entity
mistakenly believes that the person’s actual, non limiting impairment substantially
limits one or more major life activities.

29.That the Defendants-Detroit Public Schoo|s, a Public School District and
Agency of the State Michigan-Division of Human Resources Emp|oyee Health Services is
an agency of the State of Michigan that deals with employment personnel issues work a
including employment leaves, vacations, work status suspensions etc and is an agency
that is now subject to the jurisdiction of the court and legal process issued by this court.

30 This P|aintiff ¥olanda Domineck Mitchell had surgery on her spine to
correct a back injury and the Henry Ford Hospital doctors ordered rehabilitation but
but the Detroit Public Schools and Robert C Bobb terminated Plaintiff’s employment
on July 30, 2010 and her medical benefits and this P|aintiff thereafter continued to
suffer back pain & suffering, continued pain even though this Flaintiff was on a written

approved Medical Leave under the Family Medical Leave Act ( FMLA) on July 30, 2010.
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31 . Defendant Human Resource Emp|oyee Health Services cut her medical
benefits while PLAlNTllF had been approved FMLA, P|aintiff required therapy and
rehabilitation of her back her injured on the job as security officer, Human Resource
approved the FMLA she request because her injuries violating FMLA AND ADA .-
Rehabilitation Act 1973

32 P|aintiff ¥olanda Micthell forced to filed a charges with EEOC against her
employer Defendants Detroit Public Schools (DPS) Robert Bobb and Human Resource
for them violating her rights under ADA AND FMLA Act these Defendants did caused
aggravated injury when they terminated employment while being treated for rehab on her
back, and plaintiff forced to apply for State assisted for expenses and ongoing therapy.

33 That Defendant -Detroit Public Schools, a Public School District and'Agency
of the State Michigan-Division of Human Resources Emp|oyee Health Services is an
agency of the State of Michigan that deals with employment personnel issues work a
including employment leaves, vacations, work status suspensions etc and is a
government agency who terminated P|aintiff benefits when on Approved FMLA Act- the
medical insurance was cancelled while Plaintiff was under doctor care and therapy
plaintiff continued to suffered a disability and been denied reasonable accommodation

34 42 USC # 12112(a) - known as the Title ll -ADA statute - provides that
Subject to the provisions of this subchapter , no qualified individual because of any
disability can be discriminated against in regard to job application procedures, the
hiring, advancement , or discharge of employee compensation , job training and
other terms, conditions , and privileges of employment

35. 42 USC # 12132 - known as the Title ll ADA statute - provides that subject
to the provisions of this subchapter, no qualified individual with a Disability shall , by

reason of such disability, be excluded from participation ln or be denied the benefits
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of the sewices, programs, or activities or be subjected to discrimination by any such

entity .
36 The U.S Supreme Court- in Shaw vs Delta Air Lines, 463 US 5; 97, 103

S. Ct. 2890 at 2900 77 L .Ed. 2d 490 (1983) held that the District Court must give
these statutes - a plain language interpretation and U.S. Congress intended that
Liability be based upon violation of plain language of these statutes.

WHEREFORE Plaintiff - Yolanda Domineck Mitchell respectfully prays and
requests that this Honorable - U.S District Court :

A. ORDER, GRANT, ENTER Judgment (s) in favor of Plaintiff Yolanda Domineck
Mitchell in Compensatory Damages -based upon FEDERAL REHABlLlTATlON ACT OF1973
against the Defendants the Detroit Public Schoo|s, - Division of Human Resources
Emp|oyee Health Services, Robert Bobb.lndividually and in his Oflicial Capacity as the
Emergency Financial Manager, Ellen Griffin Executive Director Emp|oyee Health
Services; lnes De Jesus, ,as Associate Superintendent Human Resources Roderick
Grimes - jointly and severally plus Court Costs ,interest and Attotney Fees -lncurred in
prosecuting this Federal Claim.

COUNT ll
FAM|LY MEDlCAL LEAVE ACT 1993 - A(_:TION FQR QAMAGES
Now comes the Plaintiff Yolanda Mitchell in Propria Persona realleges restates, and
hereby complains unto this Honorable United States District court for monetary damages for this
plaintiff ‘s wrongfully deprived twelve weeks of medical benefits under the Family Medical
Leave Act that were duly granted by Defendant- Human Resource deprived this Plaintiff
of her Federal Statutory benefits - specifically :.

37 Plaintiff Yolanda Domineck Mitchell was on her approved Medical Leave
under the Family Medical Leave Act (FMLA) when her Federal rights were violated by
these Defendants in this controversy because the law requires that U.S. workplaces with at
least 50 employees provide 12 weeks of unpaid job-protected parental leave, as well as unpaid
leaves for employees with serious illnesses and those caring for seriously ill relatives The

rights promised to parents are quite modest compared to other countries leave benefits and

quite easy to administer compared to other employment rights in the United States. Yet this
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analysis reveals that at least one-quarter of covered workplaces were violating the parental
leave requirements of the FMLA.

38 . Defendant -Detroit Public Schoo|s, and its Human Resources Emp|oyee
Health Services - Division failed to honor the U.S federal law when they granted to FMLA to
the Plaintiff- Yolanda Domineck Mitchell .

39. Plaintiff Volanda Domineck Mitchell rights under the Federal Family and Medical
Leave Act of 1993. had been violated That Plaintiff’s employer Defendant- Detroit Public
Schools and the office of Benefits Emp|oyee Health Services (EHS) knew about this
Plaintiff - Yolanda Domineck Mitchell’s - FMLA that had been approved by the
Division of Human Resources and Department of Benefits and Compensation. Plaintiff
approved of the FMLA scheduled from 06I21I10 to 08120/10, and only paid for the dates
designated as paid and dates are available in my DPS bank, See (exhibit A).

40 Defendant - Robert Bobb, was duly appointed by former Governor Jennifer
Granholm, as the Emergency Financial Manager for the Defendant- Detroit Public
Schools to enforce the Michigan Emergency Financial Manager Act and address
the budgetary and fiscal crisis relating to the Defendant- Detroit Public Schools
and on July 30, 2010 - Defendant- Robert Bobb- utilized his State Executive authority
under Public Act 4 of 1999 to terminate the employment of this Plaintiff- Volanda
Domineck Mitchell - as a DPS security officer and did violated their Federal rights.

41. Plaintiff - ¥olanda Domineck Mitchell’s employment was illegally terminated ,
canceled on July 30, 2013 while this Plaintiff was on a approved Family Medical Leave.

42 Plaintiff - Yolanda Domineck Mitchell request that the l-lonorable U.S. District
Court now restore her benefits under the Family Medical Leave Act, and judicially
enforce her Statutory Rights under the U.S. law and Grant her Restoration of her

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her medical benefits and Fringe Benefits that she is rightfully entitled to based
upon the U.S. law and grant, award this Plaintiff - ¥olanda Domineck Mitchell
Compensatory and Exemplary Damages against these Defendants - for willful
violations of this Federal Statute.

43 . Defendant Robert Bobb ordered and executed that Defendant lnes de Jesus
to mail letter on July 30, 2010, to terminate Plaintiff employment as a DPSsecurity officers

44 Plaintiff - Yolanda Domineck Mitchell terminated while under medical care
and the hospital, lost medical benefits and job benefits the same day.

45 . Plaintiff - ¥olanda Domineck Mitchell was mailed a letter terminated her
employment through first class mail.

46 Plaintiff - Yolanda Domineck Mitchell received a termination letter on July
29,2010 from the Detroit Public Schools signed by acting superintendent Defendant lnes
de Jesus" who signed said termination letter.

47. Plaintiff = ¥olanda Domineck Mitchell =~ employment was terminated on a
approved FMLA and she was under doctor care for medical treatment for back injury
that was job related.

48. That Defendant- lnes de Jesus - denied this Plaintiff- vYolanda Domineck
Mitchell “Due Process of Law” and a “Fair objective Hearing” and wrongfully discharged
his Plaintiff - Yolanda Domineck Mitchell without affording her a Pre- Termination
Hearing or a Post- Termination Hearing in violation of the U.S. law l

49 Plaintiff -Yolanda Domineck Mitchell federally protected rights were violated
by Defendants lnes de Jesus and Robert Bobb under the Family Medical Leave- FMLA
, American Disability Act -1990 ADA, and Federal Rehabilitation Act -1973

50.That Defendant Robert C Bobb the emergency manager ordered Defendnt

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lnes De Jesus to mail this Plaintiff- Yolanda Domineck Mitchell - a written letter
while this Plaintiff on an approved Federal medical leave.

51 Plaintist - ¥olanda Domineck Mitchell Federally protected rights were
violated by Defendants named - ROBERT C BOBB, who granted and executed order to
terminate plaintiff employment as a DPS security oflicers.

WHEREFORE Plaintiff - ¥olanda Domineck Mitchell respectfully prays and requests
that this Honorab|e - U.S District Court:

A ORDER, GRANT, ENTER Judgment (s) in favor of Plaintiff Yolanda Domineck
Mitchell in Compensatory Damages _based upon FEDERAL REHAB|L|TAT|ON ACT OF1973
against the Defendants- the Detroit Public Schoo|s, - Division of Human Resources
Employee Health Services, Robert C Bobb.lndividually and in his Qflicial Capacity as the
Emergency Financial Manager,Ellen Griffin Executive Director Emp|oyee Health
Services; lnes De Jesus, ,as Associate Superintendent Human Resources Roderick
Grimes - jointly and severally plus Court Costs ,interest and Attotney Fees -lncurred in
prosecuting this Federal Claim.

CDUNT lll
REHAB|LITATION ACT of 1973 -» Section # 504 - 29 USC # 794§31

Action for Compensatory Damages - Handicap Discrimination

Plaintiff' - Yolanda Domineck Mitchell - |n Propria Persona request the
Honorable Federal District Courtjudicially enforce the law and her Federally protected
rights under the REHABlLlTATlON ACT of 1973 - Section # 504 - 29 USC # 794(a) and
Order these Defendants to reinstate her Emp|oyment and Retrain and Re-educate
this Plaintiff - ¥olanda Domineck Mitchell under the Rehabilitation Act that forbids
Discrimination against “Qualified people in federally funded programs “sole|y by reason
for her or his handicap.” 20 U.S.C. 794(a). This does not mean, however, if the employer
can articulate any reason for discriminatory behavior other than handicap there is no
claim under the statute. Cases interpreting the statue have held that if an employer
discriminates on the basis of the handicap, an employer may have a valid complaint .

52 Plaintiff ¥olanda Domineck Mitchell realleges, reasserts and reststes

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paragraphs one (1 thru 51 ) Fifty -One heretofore- alleged in this complaint and hereby
incorporates by reference said paragraphs as part of this Count iii a legal claim for Vioiations
of Federal Rehabilitation Act of 1973.

53 Piaintiff Yolanda Domineck Mitcheii asserts that she is Handicap person
person within the meaning of the Federal Rehabilitation Act of 1973 and as a Quaiified
Handicapped Person she has been wrengfuily excluded and have been wrongfully denied
employment positions with the Defendant Detroit Public Schoo|s, Public School District
and' Agency of the State Michigan-Division of Human Resources Emp|oyee Health
Services based upon the actions of the Defendant , Robert Bobb. individually reason
for her handicap from July 30,2010 til the present date: see Green vs _C_Le_y_€‘tz F. Supp
1076(D.|\/|ass 1986) Strathie vs DOT ,716 F.Zd 2276 ( 3rd Cir. 1893)

54 a Plaintiff Yolanda Domineck Mitchell was terminated on July 30, 2010 by
the Defendants Detroit Public Schoo|s, a Public School District under the Division of
the Human Resources Employee Health Services - based upon the Executive Qrders et
the Defendant - Robert C Bobb individually as the Emergency Financial Manager under
Public Act 4 of 1999 - the Michigan Emergency Financial Manager Act

55 Plaintiff Yolanda Domineck Mitchell a DPS Security officer was a medically
handicap employee and a “Qualified Disabied Person “ who was given an approved
medical leave on June 18, 2010 for the work related injuries ( Spinal injuries and
Left Leg probieins ) that she incurred in Aprii, 2010 at the piece of employment
and she had surgery on her back and on ongoing medical therapy for treatment. See
St Mgry Honor Cir vs Hicks. 509 U.S 502,113 S.Ct,2742,125 L.Eci, 2d 407 (1993) w
Kodak Catibbean 3.F3d.476 1st Cir1993) Cook vs Department of Mental Health Retardation
& Hospitai, 10 F 3d 17 (ist Cir 1993)

56 Defendant - Detroit Public Schools, Public School District and'Agency of the
State Michigan=Division of Human Resources Emp|oyee Health Services,Robert C Bobb

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lndividuaiiy. and Jack Martin as the Successor Emergency Financial Manager are
now liable to this Plaintiff- ¥olanda Domineck Mitchell -in compensatory damages

for violating the REHABiLiTATiON ACT of 1973 - Section # 504 - 29 USC # 794(a)

57 Defendants Detroit Public Schools,Pubiic School District and'Agency of the
State M_ichigan-Division of Human Resources Emp|oyee Health Services,Robert
Bobb.lndividuaiiy and in his Official Capacity, as Emergency Financial Manager,Elien
Griffin Executive Director Emp|oyee Health Services;lnes De Jesus, individually-
Associate Superintendent Human Resources Roderick Grimes are subject to the
FEDERAL REHABiLlTATlON ACT 0F1993 in this Case and Controversy because Detroit
Public School has received Federal Funds and Federal Financial Assistance pursuant to 29
USC # 794C(b)(1)(A) See, Schroeder vs City of Chicago 937 F.Zd 957(7th Cir 1991)

58 Defendant Roderick Grimes chief executive had a duty to retrain this Plaintiff -
Yolanda Mitchell a handicap individual and DPS SECUR|T¥ Officer Who was a Quaiified
Handicap individual within the meaning of the Federal Rehabilitation Act of 1973.

59 .Under the Rehabilitation Act 1973 Plaintiff - Yolanda Domineck Mitchell is
entitled to be retrained and promoted and given expanded employment opportunities - herein
Plaintiff Yolanda Domineck Mitchell was denied light duty position and is rightfully entitled to
compensatory damages from the Defendant- Detroit Public Schools,Public School District
and Agency of the State Michigan-Division of Human Resources Emp|oyee Health
Services, Robert Bobb. individually failed to offer reasonable accommodation or light duty to
the P|aintiff for her job related back injuries

60. Plaintiff ¥olanda Domineck Mitchell sustained injuries on Aprii, 2010
instead of allowing Plaintist reasonable accommodation -however these Defendants
continued to denied her benefits under the Family Medical Leave Act and the

Rehabilitation Statute - 29 USC #794(a)-according to the U.S. Supreme Court.See,
_15-

 

 

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based upon REHABlLiTATiON ACT of 1973 - Section§ 504 -29 USC § 794(a) plus
Court Costs, interest and Attorney Fees incurred in prosecuting this Federal Ciaim
for Handicap Discrimination against the above Defendants-specificaiiy:

A ORDER, GRANT, ENTER Judgment (s) in favor of Plaintiff ‘(oianda Domineck
Mitchell in Compensatory Damages -based upon FEDERAL REHABlLiTATiQN ACT of 1973
against the Defendants- the Detroit Public Schools,~ Division of Human Resources

Emp|oyee Health Services, Robert Bobb. individually and in his Officiai Capacity as the
former Emergency Financial Manager, Jack Martin - individually and in his Of.ficial
Capacity as Successor and Current Emergency Financial Manager; Ellen Griffin
Executive Director Emp|oyee Health Services lnes De Jesus, ,as Associate Superintendent
Human Resources Roderick Grimes -jointiy and severally plus Court Costs ,interest
and Attorney Fees -incurred in prosecuting this Federal Ciaim

COUNT iV
VlOLATlONS OF FEDERAL CiVlL RiGHTS- 42 USC # 1983 BASED UPON
DUE PROCESS OF LAW” CLAUSE OF 5 ANQ 14 AMENDMENTS
TO U.S. CONSTITUTION- ACTION FOR COMPENSATORY DAMAGES

 

Now comes the Plaintiff Yolanda Domineck Mitchell in Propria Persona
and hereby complains unto this Honorabie United States District Court for a monetary
damages for this Plaintist for Vioiations of her Federal Civil Rights - under 42 USC
#1983 - based upon the “Due Process of Law” clause under the 5"' and 14th Amendments
to the U.S Constitution and hereby seeks and request a Judgment for compensatory
damages against these Defendants- Detroit Public Schoo|s, an Agency of the State
Michigan- Division of Human Resources Emp|oyee Health Services ; Robert C Bobb
individually and in his Officiai Capacity as the Emergency Financial Manager, Ellen Griffin
Executive Director Emp|oyee Health Services; lnes De..iesus, as Associate Superintendent
Human Resources; and Roderick §_r_i_n_a_e§_, individually as the Chief of the Department
of Public Safety for the following reasons :

61 Plaintiff - Yolanda Domineck Mitchell realleges, reasserts and reststes

paragraphs one (1 thru 60) Sixty heretofore- alleged in this complaint and hereby incorporates

by reference said paragraphs as part of this Count iV a legal claim for Vioiations of Federal

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Civil Rights - under 42 USC #1983. -

62. Defendants - Robert C Bobb - individually and in his Offici-ai- Capacity as
the Emergency Financial Manager,Eiien Griffin - Executive Director Emp|oyee Health
Services; lnes De Jesus, as the Associate Superintendent Human Resources and

Roderick Grimes , individually as the Chief Department of Public Safety acting under

 

“State Action” utilizing a Michigan State Statute - Public Act 4 of 1999 under the
Michigan Statute-did intentionally and deliberately “Terminate” and “Discharge” this
Plaintiff- ¥oianda Domineck Mitchell from her employment y_v_i_t_im a Hearing on
July 30, 2010 - by illegally utilizing “State Action” under Coior of Michigan State
iaw( Public Act4 of 1999) with wanton and reckless disggard for the Civil and
Constitutionai Rights, privileges and guarantees of the Plaintiff- including her
fundamental rights to “Due Process of Law” under the 5"‘ Amendment and 14th
Amendments to the U.S Constitution and other applicable provisions of the U.S.
law. See, Scheuervs Rhodes,416 US 232, 94 S. Ct 1683; 40 L. Ed. 2d 90 (1974) M
vs Strickiand, 420 US 308, 95 S Ct 992, 43 L. Ed. 2d 214 ; §ivens v§ Six Mwn
Federal §§rcot_ics A_gents 403 US 410, 91 SCt 2011 ;Harlow vs Fitzgerald, 457 US
800; 102 S Ct 2727, 73 L. Ed. 2d 396 (1982) Ex Parte Young, 209 US 123, 28 S Ct 441
52 L.Ed 714(1908)

63. Defendants - RobertC Bobb - individually and in his Ofiiciai Capacity as
the Emergency Financial Manager, Jack Martin individually and in his Ofiiciai Capacity as
the Successor Emergency Financial Manager; Ellen Griffin-as the Executive Director
Employee Health Services; lnes De Jesus, as the Associate Superintendent Human
Resources and Roderick Grimes , individually as the Chief Department of Public
Safety acting under “State Action” utilizing a Michigan State Statute - Public Act 4
of 1999 are liable to this Plaintiff- Yolanda Domineck Mitchell - for violating her
Federal Civil Rights under the Federal Statute - 42 USC # 1983.

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WHEREFORE Plaintiff-Yolanda Domineck Mitchell-in Pro Per hereby

respectfully prays and requests that this Honorabie - U.S District Court:

A. Order,Grant, Enter Judgment(s) in favor of Plaintiff Yolanda Domineck
Mitchell in Compensatory Damages in excess of Seventy Five Thousand ($ 75,000.00)
Dollars plus Court Costs, Statutory interest, and Attorney Fees against the Defendants-
the Detroit Public Schoo|s, ~ Division of Human Resources Emp|oyee Health Services,
RobertC Bobb. individually and in his Official Capacity as the Emergency Financial
Manager, Jack Martin, individually and in his Ofiiciai Capacity as the Successor -
Emergency Financial Manager ; Ellen Griffin -Executive DirectorErnpioyee Health
Services; lnes De Jesus, ,as Associate Superintendent Human Resources Roderick
Grimes-jointly and severally based upon Vioiations of the FEDERAL ClVlL RlGHTS-
statute - 42 USC# 1983 arising from the illegal “State Action” under “Coior of the
Michigan State iaw” for willful violations of the “Due Process of Law” Clause of the 5TH
AND 14"' AMENDMENTS to the u.s. coNsTlTuTioN .

B. Order, lssue, Enter awritten order Granting this Plaintiff-Yolanda Domineck
Mitchell - Remediai Judiciai Reiiefs - that are proper and appropriate to make this
Plaintiff- Yolanda Domineck ‘*whole” in this Case and Controversy- for violations
of her Federal Civil Rights under the 42 USC# 1983 -arising from the events and
circumstances on July 30, 2013

  

Woianda Domineck Mitchell
Plaintiff in Pro Per

12500 Rosemary

Detroit, Michigan 48213

Tei (248) 252-7417

 

State of Michigan )
)ss
County of Wayne )

Yolanda Domineck Mitchell - being first duly sworn, deposes and states
that she has read this written iiiiotion subscribed by her and hereby states that said
information, allegations averments contents of said Motion are true and correct,
echept as to those matters based information and belief before a Netary Public this
§ day or July, 2013.

Notary Public, Sta$ of liiiichigan

County of Wayne

lilly Commission Expires on : f)§_»_,_ '“lg'i §§
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